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                           EXHIBIT 23
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 From:             Lowell, Abbe
 To:               "James Bryant"
 Cc:               William C. McCorriston
 Subject:          RE: Politico Article
 Date:             Sunday, May 23, 2021 2:27:00 PM


 Hello James. Unfortunately, the article and press inquiries and, therefore, your questions are based
 upon some fundamental misperceptions: (1) I was never told, nor have I ever understood, that I was
 somehow under any investigation in connection with the Baras clemency issue; (2) I did not hire a
 lawyer in June in connection with that inquiry and knew nothing about it then; and (3) I did disclose
 (and discuss) it when I learned something about it in late August. So, as you can see there appears
 to be a lot of misreporting and misunderstanding. I do think a call to go over all of this is a good
 idea.

 Best,

 Abbe David Lowell
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 From: James Bryant <jbryant@                        >
 Sent: Saturday, May 22, 2021 1:53 PM
 To: Lowell, Abbe <ADLowell@             >
 Cc: William C. McCorriston <WMcCorriston@                >
 Subject: Re: Politico Article

 Abbe:

 Before I engage in any further discussions I have three questions that need be answered:

 1. When exactly do you claim to have disclosed to Nickie that you were involved, in some way shape
 or form, in a bribery for pardon investigation involving you, Elliott Broidy and PIN (Keller?)?
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 2. Is it true that in June 2020 you retained an attorney to represent you regarding this investigation?

 3. If 1 and 2 are true, why didn’t you withdraw or at a minimum disclose this potential conflict?

 I hate to be curt but I need these questions answered. If I can’t get answers there is nothing further
 to discuss.

 Best,

 James A. Bryant II
 Partner
 The Cochran Firm - California
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 Los Angeles, CA 90010
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